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                             UNITED STATES DISTRICT COURT
 9
                            CENTRAL DISTRICT OF CALIFORNIA
10
     BOARD OF TRUSTEES OF SHEET METAL                     Case No. 5:22-cv-236
11
     WORKERS’ PENSION PLAN OF SOUTHERN
12   CALIFORNIA, ARIZONA AND NEVADA;                      COMPLAINT FOR
     BOARD OF TRUSTEES OF SHEET METAL                     INJUNCTIVE RELIEF AND
13
     WORKERS’ HEALTH PLAN OF SOUTHERN                     DAMAGES FOR BREACH
14   CALIFORNIA, ARIZONA AND NEVADA;                      OF COLLECTIVE
     BOARD OF TRUSTEES OF SOUTHERN                        BARGAINING
15
     CALIFORNIA SHEET METAL JOINT                         AGREEMENT; BREACH OF
16   APPRENTICESHIP AND TRAINING                          TRUST AGREEMENTS;
17
     COMMITTEE; BOARD OF TRUSTEES OF SHEET                VIOLATION OF THE
     METAL WORKERS LOCAL 105 RETIREES’                    EMPLOYEE RETIREMENT
18   SUPPLEMENTAL HEALTH CARE TRUST FUND;                 INCOME SECURITY ACT
19
     BOARD OF TRUSTEES OF SOUTHERN                        OF 1974 (ERISA); AND
     CALIFORNIA SHEET METAL WORKERS’ 401(A)               PIERCING THE
20   PLAN; INTERNATIONAL ASSOCIATION OF                   CORPORATE VEIL FOR
21
     SHEET METAL AIR, RAIL AND                            INDIVIDUAL LIABILITY
     TRANSPORTATION WORKERS, LOCAL UNION
22   NO. 105 UNION DUES CHECK-OFF AND
23   DEFERRED SAVINGS FUND; BOARD OF
     TRUSTEES OF SOUTHERN CALIFORNIA
24   LABOR MANAGEMENT COOPERATION
25   TRUST; BOARD OF TRUSTEES OF SHEET
     METAL AND AIR CONDITIONING
26   CONTRACTORS NATIONAL ASSOCIATION OF
27   SOUTHERN CALIFORNIA; AND BOARD OF
     TRUSTEES OF SHEET METAL WORKERS
28   LOCAL 105 HEALTH REIMBURSEMENT PLAN,

                                            1
                                        COMPLAINT
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 1          Plaintiffs,
 2
                   v.
 3

 4   R B SHEET METAL, INC.; AND ROBERT
     WILLIAM BARNES, individual
 5

 6          Defendants.
 7

 8         Plaintiffs, Board of Trustees of Sheet Metal Workers’ Pension Plan of Southern

 9   California, Arizona and Nevada (“Pension Plan”); Board of Trustees of Sheet Metal

10   Workers’ Health Plan of Southern California, Arizona and Nevada (“Health Plan”); Board

11   of Trustees of Southern California Sheet Metal Joint Apprenticeship and Training

12   Committee (“JATC”); Board of Trustees of Sheet Metal Workers Local 105 Retirees’

13   Supplemental Health Care Trust Fund (“Retirees Plan”); Board of Trustees of Southern

14   California Sheet Metal Workers’ 401(a) Plan (“401(a) Plan”); International Association of

15   Sheet Metal Air, Rail and Transportation Workers, Local Union No. 105 Union Dues

16   Check-Off and Deferred Savings Fund (“Dues and Savings Fund”); Board of Trustees of

17   Southern California Labor Management Cooperation Trust (“LMCT”); Board of Trustees

18   of the Sheet Metal and Air Conditioning Contractors National Association of Southern

19   California (“Industry Fund”); and Board of Trustees of Sheet Metal Workers Local 105

20   Health Reimbursement Plan (“HRA”) (collectively referred to as the “Plans”), aver as

21   follows:

22                                        JURISDICTION

23         1.     Jurisdiction in this Court is based on the exclusive jurisdiction of the District

24
     Courts to hear civil actions brought by a fiduciary pursuant to Sections 502(a)(3) and 515
     of the Employee Retirement Income Security Act of 1974, as amended (“ERISA”),
25
     29 U.S.C. §§ 1132(a)(3) and 1145, to redress violations or enforce the terms of ERISA or
26
     a multiemployer plan governed by Section 502(e) of ERISA, 29 U.S.C. § 1132(e). Such
27
     jurisdiction exists without respect to the amount in controversy or the citizenship of the
28
     parties, as provided in Section 502(f) of ERISA, 29 U.S.C. § 1132(f).
                                                 2
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 1         2.     Jurisdiction is also based on the jurisdiction of the District Courts to hear suits
 2   for violations of contracts between an employer and a labor organization, without regard
 3   to the amount in controversy or the citizenship of the parties, as provided in Section 301(a)
 4   of the Labor Management Relations Act, 1947, as amended (“LMRA”), 29 U.S.C.
 5   § 185(a).
 6         3.     Venue is proper in this District Court pursuant to Section 502(e)(2) of ERISA,

 7   29 U.S.C. § 1132(e)(2), and Section 301(a) of the LMRA, 29 U.S.C. § 185(a), in that this

 8
     is the district in which certain of the Plans are administered, the signatory local unions
     maintain their offices, and the acts mentioned below took place.
 9
                                              PARTIES
10
                                               Plaintiffs
11
           4.     With the exception of the JATC, Dues and Savings Fund, LMCT, and Industry
12
     Fund, at all times mentioned in this complaint, the Plans have been jointly trusteed, labor-
13
     management trust funds created and maintained pursuant to Section 302(c)(5) of the
14
     LMRA, 29 U.S.C. § 186(c)(5). At all times mentioned in this complaint, the JATC has
15
     been a pooled trust fund created and maintained pursuant to Section 302(c)(7) of the
16
     LMRA, 29 U.S.C. § 186(c)(7). At all times mentioned in this complaint, the Dues and
17
     Savings Fund has been a pooled trust fund created and maintained pursuant to Section
18
     302(c)(4) of the LMRA, 29 U.S.C. § 186(c)(4). At all times mentioned in this complaint,
19
     the LMCT and Industry Fund have been employer-trusteed trust funds established pursuant
20
     to Section 501(c)(6) of the Internal Revenue Code, 26 U.S.C. § 501(c)(6).
21
           5.     The Pension Plan and 401(a) Plan are “employee pension benefit plans” and
22
     “multiemployer plans” as defined in Section 3(2)(A) and 3(37) of ERISA, 29 U.S.C. §
23
     1002(2)(A) and (37)(A). The Health Plan, JATC, and Retirees Fund are “employee welfare
24
     benefit plans” and “multiemployer plans” as defined in Section 3(1) and 3(37) of ERISA,
25
     29 U.S.C. § 1002(1) and (37)(A).
26
           6.     The Plans were created pursuant to separate agreements and declarations of
27
     trust (“Trust Agreements”) executed and maintained pursuant to collective bargaining
28
     agreements between various employer associations and individual contractors located in
                                                 3
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 1   the Southern California, Arizona and Nevada areas performing work in the sheet metal
 2   industry, an industry affecting commerce, and various local unions of the International
 3   Association of Sheet Metal, Air, Rail and Transportation Workers (“SMART”). As
 4   described more fully below, the Plans are funded by contributions from employers who are
 5   signatory to the collective bargaining agreements.
 6         7.    The administrative offices of the Pension Plan and the Health Plan are located
 7   at 111 North Sepulveda Boulevard, Suite 210, Manhattan Beach, California.             The
 8   administrative offices of the Retirees Plan and the 401(a) Plan are located at 10 Almaden
 9   Boulevard, Suite 540, San Jose, California. The administrative offices of the JATC, Dues
10   and Savings Fund are located at 2120 Auto Centre Drive, Suite 105, Glendora, California.
11   The administrative offices of the LMCT and Industry Fund are located at 12070 Telegraph
12   Road, Suite 350, Santa Fe Springs, California. The administrative office of HRA is located
13   at Kaufmann and Goble Associates, 160 W. Santa Clara Street, Suite 1550, San Jose, CA
14   95113.
15                                          Defendants
16         8.    Defendant R B SHEET METAL, INC. (the “Company”) is a corporation
17   organized and existing under the laws of the State of California, and licensed as a sheet
18   metal contractor by the State of California. At all times mentioned herein, the Company
19   has been doing business at 1893 Capri Avenue, Unit G, Mentone, CA 92359.
20         9.    The Company is an “employer” as defined in Section 3(5) of ERISA, 29
21   U.S.C. § 1002(5) and thus "obligated to make contributions to a multiemployer plan"
22   within the meaning of Section 515 of ERISA, 29 U.S.C. § 1145. The Company is also an
23   "employer" engaged in "commerce" in an "industry affecting commerce," as those terms
24   are defined in Sections 501(1) and (3) of the LMRA, 29 U.S.C. § 142(1) and (3), and within
25   the meaning of Section 301(a) of the LMRA, 29 U.S.C. § 185(a), or the agent acting in the
26   interest of such an employer within the meaning of Section 501(3) of the LMRA, 29 U.S.C.
27   § 142(3).
28         10.   Defendant ROBERT WILLIAM BARNES (collectively “Individual

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 1   Defendant") is the officer, director, controlling shareholder, and beneficial owner of the
 2   Company and reside within the Central District.
 3         11.    The Individual Defendant is responsible for running the day-to-day operations
 4   of the Company and is responsible for all decisions pertaining to the payment of
 5   contributions to the Plans, including decisions whether or not to pay such contributions.
 6         12.    The Individual Defendant is an owner-employee who was eligible to obtain
 7   benefits from the Plan under the Trust Agreements.
 8

 9         13.    ROBERT WILLIAM BARNES is listed as the Company’s CEO in filings
10   with the California Secretary of State.
11         14.    ROBERT WILLIAM BARNES is listed as the Company’s Secretary in filings
12   with the California Secretary of State.
13         15.    ROBERT WILLIAM BARNES is listed as the Company’s CFO in filings
14   with the California Secretary of State.
15         16.    ROBERT WILLIAM BARNES is listed as the Company’s agent for service
16   of process in its most recent filings with the California Secretary of State.
17         17.    Specifically, the Plans are informed and believe and on the basis of such
18   information and belief aver, that the Individual Defendant acted on behalf of and in the
19   interest of the Company in all aspects of labor relations and in its dealings and relations
20   with the Plans, including but not limited to determining which employees the Company
21   would report to the Plans, the number of hours upon which contributions would be reported
22   as owing, and the amount of owed contributions that would be paid. The Individual
23   Defendant authorized and made payments of employee benefit plan contributions from the
24   Company to the Plans.
25         18.    The Plans are informed and believe, and on the basis of such information and
26   belief aver, that the Individual Defendant acted on behalf of and in the interest of the
27   Company in all aspects of labor relations and in its dealings and relations with the Plans,
28   including but not limited to determining which employees the Company would report to

                                                   5
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 1   the Plans, the number of hours upon which contributions would be reported as owing, and
 2   the amount of owed contributions that would be paid.
 3         19.    The Individual Defendant is "employers" or agents of an employer engaged
 4   in "commerce" and in an "industry or activity affecting commerce" as defined in Section
 5   501(1) and (3) of the LMRA, 29 U.S.C. § 142(1) and (3), and within the meaning of
 6   Section 301(a) of the LMRA, 29 U.S.C. § 185(a), or the agents acting in the interest of
 7   such an employer as defined in Section 501(3) of the LMRA, 29 U.S.C. § 142(3). The
 8   Individual Defendant is also an "employer" within the meaning of Section 3(5) of ERISA,
 9   29 U.S.C. § 1002(5) and is thus "obligated to make contributions to a multiemployer plan"
10   within the meaning of 29 U.S.C. § 1145.
11         20.    The Plans are informed and believe, and on the basis of such information and
12   belief aver, that the Company has failed to hold regular board meetings.
13         21.    The Plans are informed and believe, and on the basis of such information and
14   belief aver, that the Company has not consistently kept minutes of board meetings or
15   executive meetings that were held.
16         22.    The Plans are informed and believe, and on the basis of such information and
17   belief aver, that the Company failed to maintain assets adequate to operate its business and
18   pay its debts as they matured, including its obligations to contribute to the Plans described
19   below.
20         23.    The Plans are informed and believe, and on the basis of such information and
21   belief aver, that the Individual Defendant transferred money between the Company’s
22   accounts and their personal accounts without keeping complete transaction records.
23         24.    The Plans are informed and believe, and on the basis of such information and
24   belief aver, that the Individual Defendant transferred money between the Company’s
25   accounts and their personal accounts without promissory notes, written loan agreements,
26   or records of a debt obligation.
27         25.    The Plans are informed and believe, and on the basis of such information and
28   belief aver, that the Company did not issue shares of stock.

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 1          26.    The Plans are informed and believe, and on the basis of such information and
 2   belief aver, that the Individual Defendant used Company assets for personal purposes.
 3          27.    The Plans are informed and believe, and on the basis of such information and
 4   belief aver, that the Individual Defendant made decisions in the absence of a meeting of
 5   the Company’s board.
 6          28.    The Plans are informed and believe, and on the basis of such information and
 7   belief aver, that some or all of the Individual Defendant guaranteed the Company’s
 8   liabilities in their individual capacities.
 9          29.    The Plans are informed and believe, and on the basis of such information and
10   belief aver, that at all relevant times the Individual Defendant have been the qualifying
11   individuals for state licensing and bond purposes, and the responsible managing officers
12   for the Company.
13          30.    The Individual Defendant was the partner, joint venturer, employer,
14   employee, actual and ostensible agent, and representative of same and, in doing the acts
15   alleged, were acting on behalf of such partnership and joint venture, and within the course
16   and scope, and the apparent course and scope, of such employment, agency, and
17   representation and on behalf of such partnership and joint venture.
18                            THE OBLIGATION TO CONTRIBUTE
19          31.    The Company entered into, executed, and at all material times has been party
20   to a written collective bargaining agreement (the "Bargaining Agreement") with SMART
21   Local Union No. 105 (“Local 105”). The Bargaining Agreement establishes and renews
22   the Trust Agreements. The Plans have at all times been intended third party beneficiaries
23   of the Bargaining Agreement.
24          32.    Under the Bargaining Agreement and Trust Agreements, an employer's
25   monthly contributions to the Pension Plan, Health Plan, JATC, Retirees Fund, 401(a), Dues
26   Fund, and Industry Fund are separately calculated by determining the total number of hours
27   worked by the employer’s employees in the reporting month, and multiplying these total
28   hours by the prescribed hourly contribution rates set forth in the Bargaining Agreement.

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 1   Under the Bargaining Agreement and Trust Agreements, an employer’s monthly
 2   contributions to the Dues and Savings are established as a deduction from wages.
 3   Additionally, beginning August 1, 1990, under the Bargaining Agreement and Trust
 4   Agreements, the employers make additional contributions to the 401(a) Plan based on an
 5   hourly contribution rate specified in the Bargaining Agreement.
 6         33.    The Bargaining Agreement and Trust Agreements obligate an employer to file
 7   monthly remittance reports with the Plans and to pay the Plans the contributions set forth
 8   in such reports by the tenth day of the month following the month in which such
 9   contributions were earned by the employees’ labor. The Bargaining Agreement and Trust
10   Agreements provide that contributions are delinquent if not paid by the twentieth day of
11   such latter month. The Company and the Individual Defendant are fully aware of the
12   obligation to timely pay contributions.
13         34.    Because contributing employers themselves calculate and prepare the
14   monthly reports, the Plans must rely upon the honesty of employers and their accuracy in
15   reporting the hours worked and contributions owed on behalf of their covered employees.
16   To verify the accuracy of the reports, the Plans have at all times maintained an employer
17   compliance examination program pursuant to the Trust Agreements. As a part of this
18   compliance examination program, the Plans’ compliance examiners periodically examine
19   the books and payroll records of contributing employers. If a compliance examination
20   reveals that an employer owes contributions to the Plans in excess of the amounts contained
21   in the monthly remittance reports submitted to the Plans, the Plans assess an hourly
22   compliance examination fee, together with other assessments described herein.
23         35.    The Bargaining Agreement and Trust Agreements provide that if an employer
24   fails to furnish remittance reports on a timely basis, it shall pay the Fund $200 per plan or
25   ten percent of the delinquent contributions, whichever is greater, as a late filing assessment.
26   In addition, the Bargaining Agreement and Trust Agreements provide that if contributions
27   to the Plans are delinquent, the employer will pay liquidated damages in the amounts of
28   ten percent of the delinquent amount for the first month, and five percent of the delinquent

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 1   amount for each month thereafter in which the contributions remain delinquent.
 2         36.    The Bargaining Agreement and Trust Agreements provide that an employer
 3   will be liable to the Plans for any costs incurred in, or relating to, the collection of any
 4   contributions, liquidated damages or late filing assessments due to the Plans, including
 5   interest and attorney's fees.
 6         37.    The Bargaining Agreement and Trust Agreements provide that in the event an
 7   employer is delinquent in the payment of contributions or liquidated damages to the Plans
 8   for a period of fifteen days or more, then such employer shall, upon written notice, be
 9   required to furnish to the Plans or their representative all records and other information
10   deemed necessary by the Plans to enable them to file mechanic's liens, stop notices or
11   Miller Act claims on behalf of the affected employees pursuant to applicable state law, in
12   order to collect unpaid compensation owing by the employer. The required information
13   includes identification of each project for which the employer supplied labor or materials,
14   and the number of hours worked by the employer's employees at each job during the
15   months in which the employer was delinquent. The Trust Agreements further provide that
16   the Plans may require the employer to submit this information to the Plans or their
17   representative on a weekly basis while the employer remains delinquent. The Trust
18   Agreements also acknowledge that the parties recognize that time is of the essence in the
19   filing of the mechanic's liens, stop notices or Miller Act claims and that the employer shall
20   therefore supply such information immediately upon request by the Plans. The Bargaining
21   Agreement further provides that any failure to provide such information by Individual
22   Defendant subjects the officers, directors, and shareholders to individual liability.
23                           THE EMPLOYER’S DELINQUENCIES
24         38.    The Company has failed and refused to remit contributions to the Plans for
25   the work months discovered pursuant to an audit for January 1, 2016 through March 31,
26   2020. The Company is therefore delinquent in its obligations to the Plans for such months
27   in an amount which is presently unknown to the Plans, but which the Plans will establish
28   by proof and at present is in excess of $18,007.53.

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 1          39.    The Company owes liquidated damages for the late payment of contributions
 2    for the work months discovered pursuant to an audit for January 1, 2016 through March
 3    31, 2020. The Company is therefore delinquent in its obligations to the Plans for such
 4    months in an amount which is presently unknown to the Plans, but which the Plans will
 5    establish by proof and at present is in excess of $3,601.50.
 6          40.    The Bargaining Agreement provides for interest to be paid on all delinquent
 7    contributions, calculated at the rate of twelve percent (12%) per annum.
 8          41.    The Company owes interest for the work months discovered pursuant to an
 9    audit for January 1, 2016 through March 31, 2020. The Company is therefore delinquent
10    in its obligations to the Plans for such months in an amount which is presently unknown to
11    the Plans, but which the Plans will establish by proof and at present is in excess of
12    $2,593.08.
13          42.    The Company was timely notified by letter of these delinquencies and it was
14    assessed liquidated damages, and payment of the delinquent contributions and liquidated
15    damages was repeatedly demanded. At least one these letters also demanded mechanic's
16    lien, stop notice and Miller Act claim information. To date, the Company has failed and
17    refused to pay the contributions and other sums owing to the Plans and has refused to
18    furnish mechanic's lien, stop notice and Miller Act claim information.
19          43.    The Company is fully aware of the obligation to make contributions on behalf
20    of covered work performed by the Company’s employees and the obligation to submit
21    accurate remittance reports, as set forth herein, and is equally aware of its failure to make
22    such contributions.
23

24                                  FIRST CAUSE OF ACTION:
25        AGAINST DEFENDANTS FOR INJUNCTIVE RELIEF AND DAMAGES
26                      FOR BREACH OF BARGAINING AGREEMENT
27          44.    The Plans reaver every averment of paragraphs 1 through 43 above as if they
28    were repeated here in full.

                                                 10
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 1          45.    Defendants’ failure to pay such contributions and other sums on the dates on
 2    which such contributions and other sums were due are violations of the Bargaining
 3    Agreement. As a direct result, Defendants have become indebted to the Plans for
 4    contributions and other sums, and will become indebted to the Plans for additional
 5    contributions and other sums, in an amount which is presently unknown to the Plans, but
 6    which the Plans will establish by proof and at present is in excess of $24,202.11.
 7          46.    Defendants’ failure to submit mechanic's lien, stop notice and Miller Act
 8    claim information to the Plans is a violation of the Bargaining Agreement. As a direct
 9    result of Defendants’ failure to furnish mechanic's lien, stop notice and Miller Act
10    information to the Plans, the Plans have been damaged in an amount which is presently
11    unknown to the Plans, but which the Plans will establish by proof and at present is in excess
12    of $24,202.11.
13          47.    The Plans are informed and believe, and based upon such information and
14    belief aver, that additional delinquencies have occurred both before and after the date of
15    this complaint, and that such delinquencies are continuing. As a direct result, Defendants
16    have become and will become indebted to the Plans for additional contributions and other
17    sums in an amount which is presently unknown to the Plans, but which the Plans will
18    establish by proof.
19          48.    The Plans are informed and believe, and based upon such information and
20    belief aver, that Defendants have threatened not to pay, and will refuse or fail to pay, future
21    contributions to the Plans, and that it will thereby create future unpaid delinquencies during
22    the remaining term of the Bargaining Agreement. Unless Defendants are enjoined from
23    failing to make such contributions, furnishing such remittance reports and providing such
24    mechanic's lien, stop notice and Miller Act claim information, as described above, the Plans
25    will suffer irreparable injury for which there is no adequate remedy at law since, among
26    other things, the brief period of time in which mechanic's liens, stop notices and Miller Act
27    claims must be recorded or filed will expire, and additionally, the Plans will be required to
28    bring a multiplicity of actions at law to recover such delinquencies as they occur, to the

                                                 11
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 1    Plans' great expense and hardship. On that basis, the Plans seek injunctive relief requiring
 2    Defendants to timely pay contributions, and to timely furnish remittance reports and
 3    mechanic's lien, stop notice and Miller Act claim information for construction projects.
 4

 5                                  SECOND CAUSE OF ACTION:
 6                   AGAINST DEFENDANTS FOR INJUNCTIVE RELIEF
 7                AND DAMAGES FOR BREACH OF TRUST AGREEMENTS
 8          49.    The Plans reaver every averment of paragraphs 1 through 48 above as if they
 9    were repeated here in full.
10          50.    Defendants’ failure to pay such contributions and other sums on the dates on
11    which such contributions and other sums were due are violations of the Trust Agreements.
12    As a direct result, Defendants have become indebted to the Plans for contributions and
13    other sums, and will become indebted to the Plans for additional contributions and other
14    sums, in an amount which is presently unknown to the Plans, but which the Plans will
15    establish by proof and at present is in excess of $24,202.11.
16          51.    Defendants’ failure to submit mechanic's lien, stop notice and Miller Act
17    claim information to the Plans is a violation of the Trust Agreements. As a direct result of
18    Defendants’ failure to furnish mechanic's lien, stop notice and Miller Act information to
19    the Plans, the Plans have been damaged in an amount which is presently unknown to the
20    Plans, but which the Plans will establish by proof and at present is in excess of $24,202.11.
21          52.    The Plans are informed and believe, and based upon such information and
22    belief aver, that Defendants have threatened not to pay, and will refuse or fail to pay, future
23    contributions to the Plans, and that it will thereby create future unpaid delinquencies during
24    the remaining term of the Bargaining Agreement. Unless Defendants are enjoined from
25    failing to make such contributions, furnishing such remittance reports and providing such
26    mechanic's lien, stop notice and Miller Act claim information, as described above, the Plans
27    will suffer irreparable injury for which there is no adequate remedy at law since, among
28    other things, the brief period of time in which mechanic's liens, stop notices and Miller Act

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 1    claims must be recorded or filed will expire, and additionally, the Plans will be required to
 2    bring a multiplicity of actions at law to recover such delinquencies as they occur, to the
 3    Plans' great expense and hardship. On that basis, the Plans seek injunctive relief requiring
 4    Defendants to timely pay contributions, and to timely furnish remittance reports and
 5    mechanic's lien, stop notice and Miller Act claim information for construction projects.
 6

 7                                  THIRD CAUSE OF ACTION:
 8                   AGAINST DEFENDANTS FOR INJUNCTIVE RELIEF
 9                       AND DAMAGES FOR VIOLATION OF ERISA
10          53.    The Plans reaver every averment of paragraphs 1 through 52 above as if they
11    were repeated here in full.
12          54.    By engaging in the acts described above, Defendants have violated the terms
13    of the Plans, and thereby have violated certain provisions of ERISA including Section 515,
14    29 U.S.C. § 1145. As a direct result, Defendants have become indebted to the Plans for
15    contributions and other sums, and will become indebted to the Plans for additional
16    contributions and other sums, in an amount which is presently unknown to the Plans, but
17    which the Plans will establish by proof and at present is in excess of $24,202.11.
18          55.    The Plans are informed and believe, and based upon such information and
19    belief aver, that Defendants have threatened not to pay, and will refuse or fail to pay, future
20    contributions to the Plans, and that it will thereby create future unpaid delinquencies during
21    the remaining term of the Bargaining Agreement. Unless the Defendants are enjoined from
22    failing to make such contributions, furnishing such remittance reports and providing such
23    mechanic’s lien, stop notice and Miller Act claim information, as described above, the
24    Plans will suffer irreparable injury for which there is no adequate remedy at law since,
25    among other things, the brief period of time in which mechanic’s liens, stop notices and
26    Miller Act claims must be recorded or filed will expire, and additionally, the Plans will be
27    required to bring a multiplicity of actions at law to recover such delinquencies as they
28    occur, to the Plans’ great expense and hardship. On that basis, the Plans seek injunctive

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 1    relief requiring Defendants to timely pay contributions, and to timely furnish remittance
 2    reports and mechanic’s lien, stop notice and Miller Act claim information for construction
 3    projects.
 4          56.    Because Defendants acted with malice, oppression and conscious disregard of
 5    the rights of the Plans, the Plans are entitled to an award of punitive damages as an
 6    appropriate legal remedy available under Section 502(g)(2)(E) of ERISA, 29 U.S.C. §
 7    1132(g)(2)(E), in an amount deemed appropriate by the Court.
 8

 9                                  FOURTH CAUSE OF ACTION:
10       INDIVIDUAL DEFENDANT IS LIABLE FOR THE COMPANY’S UNPAID
11          CONTRIBUTIONS AND ATTENDANT DAMAGES (“PIERCING THE
12                                     CORPORATE VEIL”)
13          57.    The Plans reaver every averment of paragraphs 1 through 56 above as if they
14    were repeated here in full.
15          58.    The Plans are informed and believe, and on the basis of such information and
16    belief, aver, that at the time the Company entered into the Bargaining Agreement with
17    Local 105, the Individual Defendant knew that some or all of them would be granted
18    benefits under the Trust Agreements.
19          59.    The Plans are informed and believe, and on the basis of such information and
20    belief, aver, that by signing the Bargaining Agreement, the Company became eligible for
21    some contracts and economic opportunities that it would not otherwise have been permitted
22    to bid on.
23          60.    The Plans are informed and believe, and on the basis of such information and
24    belief, aver, that at the time the Company entered into the Bargaining Agreement, the
25    Individual Defendant knew that it would give the Company access to new contracts and
26    economic opportunities.
27          61.    The Plans are informed and believe, and on the basis of such information and
28    belief, aver, that at the time the Company entered into the Bargaining Agreement with

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 1    Local 105, the Individual Defendant knew that the Company could not afford to make the
 2    contributions required by the Bargaining Agreement and Trust Agreements.
 3          62.       The Plans are informed and believe, and on the basis of such information and
 4    belief, aver, that at the time the Company entered into the Bargaining Agreement with
 5    Local 105, the Individual Defendant knew that the Company’s employees would be eligible
 6    for benefits from the Plans regardless of whether the Company met all of its contribution
 7    obligations.
 8          63.       The Plans are informed and believe, and on the basis of such information and
 9    belief, aver, that at relevant times the Company lacked the income or capital to meet its
10    obligation to contribute under the Bargaining Agreement and Trust Agreements.
11          64.       Upon entering into the Bargaining Agreement, the Company’s obligation to
12    contribute was foreseeable and could reasonably be expected to arise within the course of
13    its business.
14          65.       The Trust Agreements obligate the Pension Plan to provide benefits to vested
15    employees whether or not their employer makes contributions as required.
16          66.       A company’s “corporate veil” should be pierced and its shareholders held
17    personally liable for the company’s debts if (1) they failed to respect the corporate form;
18    (2) limitation of shareholder liability would visit injustice upon the litigants; and (3) the
19    shareholders either had fraudulent intent when they incorporated the company, or they
20    engaged in a deliberate misuse of the corporate form.
21          67.       The Individual Defendant’s previously-alleged conduct, including but not
22    limited to their failure to hold regular corporate meetings, their failure to keep minutes of
23    meetings, their failure to retain enough capital to meet regular and foreseeable
24    contributions, their failure to keep complete records of monetary transfers between
25    personal and Company accounts, their treating of Company assets as their own, their failure
26    to issue Company stock, their decision making in the absence of a Company board meeting,
27    and their personally guaranteeing Company debts, constitutes sufficient disregard of the
28    corporate form to hold them individually liable.

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 1          68.    The Individual Defendant’s previously-alleged conduct, including but not
 2    limited to their knowledge that the Company could not afford its obligations under the
 3    Bargaining Agreement, their knowledge that by entering the Company into the Bargaining
 4    Agreement at least one Individual Defendant would personally and individually be entitled
 5    to benefits from the Plan, their knowledge that by signing the Bargaining Agreement, the
 6    Company would gain access to new economic opportunities and contracts, and their failure
 7    to maintain adequate capitalization to meet their contribution obligations while continuing
 8    to submit remittance reports, constitutes sufficient misuse of the corporate form to justify
 9    holding the Individual Defendant personally liable.
10          69.    The fact that the Individual Defendant knew that at least one Individual
11    Defendant would personally benefit from the Plan’s assets even if the Company never
12    meets its contribution obligations to the Plan, that the Company was incapable of meeting
13    its obligations when it entered into the Bargaining Agreement, that the Company was
14    unable to meet debts that were reasonably foreseeable in the normal course of business,
15    and that the Individual Defendant knew this constitute sufficient injustice to justify holding
16    the Individual Defendant personally liable.
17          70.    At all times material herein, the Individual Defendant were the partner, joint
18    venturer, employer, employee, actual and ostensible agent, and representative of same and,
19    in doing the acts alleged, was acting on behalf of such partnership and joint venture, and
20    within the course and scope, and the apparent course and scope, of such employment,
21    agency, and representation and on behalf of such partnership and joint venture.
22          71.    For the reasons stated above, the Individual Defendant cannot take advantage
23    of the corporate form’s limit on liability and are, therefore, personally liable for all amounts
24    owed to the Plans.
25

26          PLAINTIFFS THEREFORE PRAY JUDGMENT AGAINST DEFENDANTS
27    AS FOLLOWS:
28          As to All Causes of Action:

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 1          1.      That the Court restrain and enjoin Defendants, for so long as they remain
 2    contractually and legally bound to make payments of contributions to the Plans, from
 3    failing or refusing:
 4                  (1)      to make payments of contributions to the Plans on the dates on which
 5          they fall due;
 6                  (2)      to submit to the Plans any remittance reports required from contributing
 7                           employers on the dates on which they fall due; and,
 8                  (3)      to submit to the Plans any and all information deemed necessary by the
 9                           Plans to enable Defendants’ employees or their representative(s) to file
10                           mechanic's liens, stop notices and Miller Act claims.
11          2.      For payment of delinquent contributions from Defendants for all months that
12    Defendants are delinquent at the time of trial, in an amount which is presently unknown to
13    the Plans, but which the Plans will establish by proof and at present is in excess of
14    $18,007.53.
15          3.      For payment of liquidated damages from Defendants at the time of trial, an
16    amount presently unknown to the Plans, but which the Plans will establish by proof and at
17    present is in excess of $3.601.50.
18          4.      For reasonable attorney's fees and costs of suit from Defendants.
19          5.      For prejudgment interest pursuant to Section 502(g)(2) of ERISA, 29 U.S.C.
20    § 1132(g)(2), and post-judgment interest in accordance with the Bargaining Agreement,
21    the Trust Agreements and law, an amount presently unknown to the Plans, but which the
22    Plans will establish by proof and at present is in excess of $2,593.08.
23          As to Causes of Action 3 and 4 Only:
24          1.      For payment of punitive damages from the Defendants in an amount deemed
25    appropriate by this Court.
26          As to Cause of Action 4 Only:
27          1.      For payment from the Individual Defendant of actual damages presently
28    estimated to be in excess of $24,202.11.

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 1           2.     For prejudgment and post-judgment interest in accordance with applicable
 2    law; an amount presently unknown to the Plans, but which will be established by the Plans
 3    at the time of trial.
 4           As to All Causes of Action:
 5           1.     For such other and further relief as to this Court may seem just and proper.
 6

 7

 8           Dated:           February 4, 2022       Respectfully submitted,

 9                                                   GILBERT & SACKMAN
10                                                   A Law Corporation

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12
                                                   By:
13                                                         Laurie A. Traktman
14                                                       Attorneys for Plaintiffs

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